     Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 1 of 8 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

COREY ROBINSON,                                  §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §          CIVIL ACTION NO. 4:22-cv-00016
                                                 §
PENNYMAC LOAN SERVICES, LLC,                     §
                                                 §
               Defendant.                        §


                            DEFENDANT’S NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. §§ 1331 and 1332(a), Defendant PennyMac Loan Services, LLC

(“PennyMac” or “Defendant”) removes this action from the 393rd Judicial District Court of

Denton County, Texas to the United States District Court for the Eastern District of Texas,

Sherman Division, and respectfully shows the Court as follows:

                               I.     STATE COURT ACTION

        1.     On January 2, 2022, Plaintiff, Corey Robinson (“Plaintiff”) filed his Original

Petition, Application for Temporary Restraining Order, Temporary Injunction, Permanent

Injunction, and Request for Disclosures (the “Complaint”) in the 393rd Judicial District Court of

Denton County, Texas. The case is styled as Corey Robinson v. PennyMac Loan Services, LLC,

and numbered Cause No. 22-0009-393 (the “State Court Action”).

        2.     In the State Court Action, Plaintiff seeks to prevent the foreclosure of his property

located at 9375 Jack Gray Road, Pilot Point, TX (the “Property”) due to allegedly wrongful

conduct on the part of Defendant.           Specifically, Plaintiff complains of PennyMac’s

communications with him concerning loss mitigation and its provision of notices before the sale.

He asserts causes of action for negligence, breaches of the loan contract, a violation of the Texas


                                              Page 1
   Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 2 of 8 PageID #: 2




Property Code, and a violation of the Real Estate Settlement and Procedures Act (“RESPA”).

Plaintiff seeks alleged damages in an amount between $250,000 and $1,000,000, as well

injunctive relief preventing foreclosure, and his attorneys’ fees incurred in this case.

       3.      With this Notice of Removal, Defendant timely removes the pending State Court

Action to this Court on the basis of diversity and federal question jurisdiction as more fully

described below.

                          II.     PROCEDURAL REQUIREMENTS

       4.      This action is properly removed to this Court because the State Court Action is

pending within this district and division. 28 U.S.C. § 1441(a).

       5.      Plaintiff has not yet served Defendant with citation and a copy of the Complaint.

Thus, removal is timely under 28 U.S.C. § 1446(b).

       6.      Pursuant to Local Rule 81 of this Court and 28 U.S.C. § 1446(a), this Notice of

Removal is accompanied by copies of the following:

               a.      An index of all matters being filed (Exhibit A);

               b.      A certified copy of the state court docket sheet (Exhibit B);

               c.      A copy of all pleadings that assert causes of action, all answers to such
                       pleadings, all process and orders, if any, in the State Court Action
                       (Exhibit C);

               d.      A list of all parties (Exhibit D);

               f.      A list of all attorneys (Exhibit E);

               g.      A copy of the Denton County Appraisal District detail for the Property at
                       issue in this lawsuit (Exhibit F); and

               h.      A separately signed and filed disclosure statement (Exhibit G).

       7.      Defendant states that Plaintiff has not requested a jury trial.

       8.      This matter is being removed from the 393rd Judicial District Court of Denton

County, Texas, located at 1450 E McKinney Street, 4th Floor, Denton, TX 76209.

                                               Page 2
      Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 3 of 8 PageID #: 3




         9.       Simultaneously with the filing of this Notice, Defendant is also filing notice in the

393rd Judicial District Court of Denton County, Texas, and providing Plaintiff with copies

pursuant to 28 U.S.C. § 1446(d).

                    III.    THIS COURT HAS DIVERSITY JURISDICTION

         10.      Where there is complete diversity among the parties and the amount in

controversy exceeds $75,000, an action may be removed to federal court. 28 U.S.C. §§ 1332(a)

and 1441(a). Complete diversity exists in this case because PennyMac is not a citizen of Texas

or of the same state as Plaintiff. As set forth below, the amount in controversy requirement is

also satisfied.

         Diversity of Citizenship

         11.      For purposes of diversity jurisdiction, “[a] natural person is considered a citizen

of the state where that person is domiciled, that is, where the person has a fixed residence with

the intent to remain there indefinitely.” Margetis v. Ray, No. 3:08-CV-958-L, 2009 WL 464962,

*3 (N.D. Tex. Feb. 25, 2009) (citing Freeman v. Northwest Acceptance Corp., 754 F.2d 553,

555-56 (5th Cir. 1985)). Plaintiff is a natural person and has claimed Denton County, Texas as

his residence and domicile. (See Complaint at ¶ 2.) Accordingly, Plaintiff is a citizen of Texas

for diversity purposes.

         12.      PennyMac is limited liability company, whose citizenship, for diversity purposes,

is determined by the citizenship of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

1077, 1080 (5th Cir. 2008). An LLC is a citizen of every state in which its members are citizens.

Id.    PennyMac is 100% owned by Private National Mortgage Acceptance Company, LLC

(“PNMAC”). PNMAC is a Delaware limited liability company. PNMAC is approximately

32.5% owned by PNMAC Holdings, Inc. (“Holdings”), a Delaware corporation with a principal

place of business located in Westlake Village, California, and approximately 67.5% owned by


                                                 Page 3
   Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 4 of 8 PageID #: 4




PennyMac Financial Services, Inc. (“PFSI”), a publicly held Delaware corporation with a

principal place of business located in Westlake Village, California. As corporations, Holdings

and PFSI are each citizens of the states where they are incorporated and where they have their

principal place of business. See 28 U.S.C. § 1332(c)(1); Lincoln Prop. Co. v. Roche, 546 U.S.

81, 88-89 (2005). Holdings and PFSI are, accordingly, each citizens of California and Delaware.

Therefore, for purposes of diversity jurisdiction, PennyMac is a citizen of Delaware and

California. See Harvey, 542 F.3d at 1080.

        13.    Because Defendant is not a citizen of Texas, there is complete diversity in this

case.

        Amount in Controversy

        14.    Where a defendant can show, by a preponderance of the evidence, that the amount

in controversy more likely than not exceeds the jurisdictional minimum, removal is proper.

White v. FCI U.S.A., Inc., 319 F.3d 672, 675–76 (5th Cir. 2003). A defendant can meet this

burden if it is apparent from the face of the petition that the claims are likely to exceed $75,000,

or, alternatively, if the defendant introduces other evidence to show that the amount in

controversy more likely than not exceeds $75,000. See St. Paul Reins. Co. v. Greenberg, 134

F.3d 1250, 1253 (5th Cir. 1998); Berry v. Chase Home Fin., LLC, No. C-09-116, 2009 WL

2868224, at *2 (S.D. Tex. Aug. 27, 2009).

        15.    From a review of the Complaint, it is apparent that the amount at issue more

likely than not exceeds $75,000 exclusive of interest and costs. Plaintiff specifically indicates he

“seeks monetary relief more than $250,000.00 but not more than $1,000,000.00” (Complaint at ¶

34) and his attorneys’ fees (id. at ¶ 31 and Prayer).

        16.    Moreover, he seeks injunctive relief to prevent a foreclosure sale of the Property

at issue. (See id. at ¶¶ 7, 22, 35-47 and Prayer.) “The amount in controversy is determined from


                                                Page 4
    Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 5 of 8 PageID #: 5




the perspective of the plaintiff, and the proper measure is the benefit to the plaintiff, not the cost

to the defendant.” Berry, 2009 WL 2868224, at *2. When the right to property is at issue, courts

look to the value of the property to determine whether the minimum amount in controversy has

been met for jurisdictional purposes. Farkas v. GMAC Mortgage, LLC, 737 F.3d 338, 341(5th

Cir. 2013) (“In actions enjoining a lender from transferring property and preserving an

individual's ownership interest, it is the property itself that is the object of the litigation; the value

of that property represents the amount in controversy.”); see also Nationstar Mortgage LLC v.

Knox, 351 F. App’x 844, 848 (5th Cir. 2009) (citing Waller v. Prof’l Ins. Corp., 296 F.2d 545,

547-48 (5th Cir. 1961)).

        17.     The current fair market value of the Property at issue is an appropriate measure of

the value of the injunctive relief sought by Plaintiff. According to the Denton County Appraisal

District, this value is $297,511. (See Denton County Appraisal District Detail, a true and correct

copy of which is attached hereto as Exhibit F. 1)

        18.     Moreover, to determine the amount in controversy, the Court may consider

attorneys’ fees. White, 319 F.3d at 675; Greenberg, 134 F.3d at 1253, n. 7 (citing Allstate Ins.

Co. v. Hilbun, 692 F. Supp. 698, 700 (S.D. Miss. 1988)). Here, Plaintiff claims he is entitled to

attorneys’ fees for prosecuting his claims. (See Complaint at ¶ 31 and Prayer.) The potential for

attorneys’ fees, coupled with the value of the property and the stated relief requested, indicate the

$75,000 amount in controversy requirement will more than likely be met. See, e.g., White, 319

F.3d at 675 (upholding district court’s conclusion that compensatory damages, punitive damages,

and attorney’s fees would “more probabl[y] than not” exceed $75,000); Greenberg, 134 F.3d at

1253 n.13; De Aguilar v. Boeing Co., 47 F.3d 1404, 1411-12 (5th Cir. 1995).



1
    Defendant respectfully requests that the Court take judicial notice of the Denton County Appraisal District
    Detail for the property, pursuant to Federal Rule of Evidence 201.

                                                    Page 5
   Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 6 of 8 PageID #: 6




       19.     Based on the foregoing, it is apparent from the face of Plaintiff’s Complaint and

the current tax records for the Property at issue in this case that the value of the relief sought

more likely than not exceeds the $75,000 jurisdictional minimum.

       20.     Because there is complete diversity among the parties and because the amount in

controversy requirement is satisfied, this Court has jurisdiction pursuant to 28 U.S.C. §§ 1332,

1441 and 1446, and removal is proper.

             IV.   THIS COURT HAS FEDERAL QUESTION JURISDICTION

       This Court has Original Jurisdiction Over this Civil Action

       21.     A defendant may remove a case to federal court if the plaintiff could have

originally filed the lawsuit in federal court. 28 U.S.C. § 1441. District courts have “original

jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States.” Id. at § 1331. A claim “arises under” the laws of the United States when: (1) the well-

pleaded complaint establishes that federal law creates the cause of action; or (2) “‘a state-law

claim necessarily raise[s] a stated federal issue, actually disputed and substantial, which a federal

forum may entertain without disturbing any congressionally approved balance of federal and

state judicial responsibilities.’” Singh v. Duane Morris LLP, 538 F.3d 334, 338 (5th Cir. 2008)

(quoting Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005)).

       22.     In this case, removal of the State Court Action is proper because Plaintiff asserts a

claim arising under the laws of the United States. Specifically, Plaintiff asserts a RESPA claim.

(Complaint at ¶ 8.) RESPA expressly grants this Court original jurisdiction to hear such a claim.

See 12 U.S.C. § 2614 (any RESPA action “may be brought in any United States district court . . .

”). Plaintiff has alleged a violation of federal law and his right to relief will necessarily depend

upon the resolution of federal law. Accordingly, this Court has federal question jurisdiction. See

id.; Holland/Blue Streak v. Barthelemy, 849 F.2d 987, 988 (5th Cir. 1988) (“The assertion of a


                                               Page 6
   Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 7 of 8 PageID #: 7




claim under a federal statute alone is sufficient to empower the District Court to assume

jurisdiction over the case and determine whether, in fact, the Act does provide the claimed

rights”); 28 U.S.C. §§ 1441(a) and 1331.

       This Court has Supplemental Jurisdiction Over Plaintiff’s Additional Claims

       23.     Once the court “has proper removal jurisdiction over a federal claim, it may

exercise supplemental jurisdiction over state law claims” pursuant to 28 U.S.C. § 1367(a). Giles

v. NYLCare Health Plans, Inc., 172 F.3d 332, 337 (5th Cir. 1999). “Section 1367(a) is a broad

grant of supplemental jurisdiction over other claims within the same case or controversy, as long

as the action is one in which the district courts would have had original jurisdiction.” Exxon

Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 558 (2005); see also State Nat’l Ins. Co.

Inc. v. Yates, 391 F.3d 577, 579 (5th Cir. 2004) (explaining that 28 U.S.C. § 1367 grants the

federal courts jurisdiction to hear “claims that do not independently come within the jurisdiction

of the district court but form part of the same Article III ‘case or controversy’”). It is well

established that federal district courts have supplemental jurisdiction over state law claims that

share a “‘common nucleus of operative fact’” with federal claims. Jamal v. Travelers Lloyds of

Tex. Ins. Co., 97 F. Supp. 2d 800, 805 (S.D. Tex. 2000) (quoting City of Chicago v. Int’l Coll. of

Surgeons, 522 U.S. 156, 164-65 (1977)). This principle applies not only to cases originally

brought in federal court, but also to those cases removed to federal court. Id. at 806.

       24.     This Court has supplemental jurisdiction to hear Plaintiff’s state and common law

claims for negligence, a violation of the Texas Property Code, breach of contract, and his request

for injunctive relief. These additional claims are premised on the same alleged wrongdoing in

connection with Defendant’s servicing of the loan and the foreclosure process. Therefore, each

of the claims in this case shares a common nucleus of operative facts with, and form part of the




                                               Page 7
   Case 4:22-cv-00016-SDJ Document 1 Filed 01/10/22 Page 8 of 8 PageID #: 8




same case or controversy as the federal RESPA claim. Removal of the State Court Action in its

entirety is proper. See Jamal, 97 F. Supp. 2d at 806.

                                    V.      CONCLUSION

       WHEREFORE, Defendant removes this action from the 393rd Judicial District Court of

Denton County, Texas to the United States District Court for the Eastern District of Texas,

Sherman Division, so that this Court may assume jurisdiction over the cause as provided by law.

                                             Respectfully submitted,

                                             /s/ Elizabeth K. Duffy
                                             Thomas G. Yoxall
                                             Texas Bar No. 00785304
                                             tyoxall@lockelord.com
                                             Matthew K. Hansen
                                             Texas Bar No. 24065368
                                             mkhansen@lockelord.com
                                             Elizabeth K. Duffy
                                             Texas Bar No. 24050535
                                             eduffy@lockelord.com
                                             LOCKE LORD LLP
                                             2200 Ross Avenue, Suite 2800
                                             Dallas, Texas 75201-6776
                                             (214) 740-8000 (Telephone)
                                             (214) 740-8800 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT PENNYMAC
                                            LOAN SERVICES, LLC

                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on this 10th day of
January 2022 via the Court’s efiling, on:

       Robert C. Newark, III
       A NEWARK FIRM
       1341 W. Mockingbird Lane, Ste 600W
       Dallas, Texas 75247
       (866) 230-7236
       Attorney for Plaintiff
                                        /s/ Elizabeth K. Duffy
                                        Attorney for Defendant



                                              Page 8
